                       UNITED STATES COURT OF APPEALS
                           FOR THE EIGHTH CIRCUIT

                                           No: 20-3121

                             Organization for Black Struggle, et al.

                                                     Appellees

                                                v.

             John R. Ashcroft, in his official capacity as Missouri Secretary of State

                                                     Appellant

                               Greene County Clerk's Office, et al.


______________________________________________________________________________

     Appeal from U.S. District Court for the Western District of Missouri - Jefferson City
                                  (2:20-cv-04184-BCW)
______________________________________________________________________________

                                            ORDER


       The motion for stay pending appeal is granted. An opinion will follow,


                                                      October 22, 2020




Order Entered at the Direction of the Court:
Clerk, U.S. Court of Appeals, Eighth Circuit.
____________________________________
            /s/ Michael E. Gans




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